                                      Exhibit H




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 Fitch Downgrades Detroit, MI's Sr and Sub Water Revs & Sewer Revs; Negative Watch
Maintained Ratings Endorsement Policy
28 Feb 2014 5:04 PM (EST)

Fitch Ratings-Chicago-28 February 2014: Fitch Ratings has downgraded the following ratings on the city of Detroit, Michigan (the city) bonds
issued on behalf of the Detroit Water and Sewerage Department (DWSD) listed below. In addition, Fitch maintains the Rating Watch
Negative on the bonds:

--$1.1 billion senior lien water revenue bonds to 'BB+' from 'BBB+';
--$565 million second lien water revenue bonds to 'BB' from 'BBB'.
--$1.6 billion senior lien sewer revenue bonds to 'BB+' from 'BBB+';
--$788 million second lien sewer revenue bonds to 'BB' from 'BBB'.

SECURITY

Senior lien water and sewer bonds are separately secured by a first lien on net revenues of each water and sewer system (the systems).
Second lien bonds are separately secured by a second lien on the net revenues of each system after payment of senior lien bonds.

KEY RATING DRIVERS

BELOW INVESTMENT-GRADE RATING REFLECTS WEAK OPERATIONS: The system continues to exhibit weak financial performance,
with fiscal 2013 unaudited results missing forecasts. Fitch believes financial improvement over the near term is unlikely given recent
disclosure regarding the full scope of customer delinquencies. Fitch's concerns about delinquencies are further exacerbated by the city's
status as a bankrupt entity.

UNCERTAINTY DRIVES THE WATCH: A key assumption underpinning Fitch's ratings is that water/sewer bondholders are legally protected
from impairment under Chapter 9 given the clear intent of the bankruptcy code to carve out debt supported by special revenues.
Nonetheless, there remains uncertainty surrounding the city Emergency Manager's (the EM) attempt to impair system bondholders under the
city's Plan of Adjustment (the POA), including removal of the call provision and subordination of bondholder security interest combined with
threatened reduction in interest coupon. Fitch believes that there is no legal basis to compel bondholders to accept such impairment as
proposed in the POA.

SEPARATE OPERATIONS: All system funds and accounts are maintained separate and distinct from other city funds including the city's
general fund. Excess system funds are invested by the bond trustee for and at the direction of DWSD.

HIGHLY LEVERAGED DEBT PROFILE: The systems' debt load is expected to remain elevated for the foreseeable future. Borrowing needs
for sewers are moderate and for water, minimal.

EXPANSIVE SERVICE TERRITORY: The systems provide essential services to a broad area. The water system covers roughly 43% of
Michigan's population, with over 70% of operating revenues coming from wealthier suburban customers. The sewer system includes roughly
30% of Michigan's population, with over 50% of operating revenues coming from suburban customers.

STRONG RATE-ADJUSTMENT HISTORY: The governing body has instituted virtually annual rate hikes in support of financial and capital
needs. While there have been recent changes in the city's governance structure through the appointment of the EM, Fitch does not view this
change as a concern at this time.

RATING SENSITIVITIES

IMPAIRMENT OF BONDHOLDERS: Fitch would almost certainly view the court's confirmation of the POA as filed, or a similar variation
whereby bondholders are impaired, as a distressed debt exchange leading to a ratings downgrade to as low as 'D'.

WEAKENED FINANCIAL PROFILE: DWSD's inability to maintain at least breakeven operations would likely result in a further downgrade.

SUSTAINED RATE INCREASES AND IMPROVED COLLECTIONS: Management's ability to consistently increase rates while improving
residential retail collections will be important in maintaining the rating.

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CREDIT PROFILE                 Doc 4674-13          Filed 05/12/14        Entered 05/12/14 22:37:39              Page 2 of 5
CHAPTER 9 LEGAL PROTECTIONS AND SEPARATION FROM CITY OPERATIONS

The ratings continue to consider Fitch's view that there is substantial protection provided to the DWSD's system debt as it constitutes special
revenue obligations under Chapter 9 of the bankruptcy code. The ratings also consider a separation of system funds from other city funds as
required under city charter and the bond ordinance; billing and collection of rates and charges by DWSD; relative autonomy by the
department's governing structure to oversee the affairs of the system without undue influence by the city; and retention of surplus funds by
the system.

DWSD is an enterprise fund of the city and therefore is not entirely free from potential city influence. Any actions taken that directly or
indirectly change this historical paradigm could exert immediate and significant credit pressure on system bonds.

NEGATIVE WATCH MAINTAINED ON CITY'S PROPOSED POA

The Negative Watch continues to reflect uncertainty regarding potential event risks related to the EM's actions that attempt to impair DWSD
bondholders. The filing of the POA is just another step in the process but does provide more insight on exactly how the city plans to treat all
creditors.

Fitch sees no apparent reason for DWSD bondholders to accept any impairment (including voting for the POA) given the very strong legal
position of this debt within Chapter 9 bankruptcy proceedings. Should the POA be confirmed as filed and thereby result in impairment to
bondholders, Fitch would almost certainly view the action consistent with a distressed debt exchange and downgrade the rating on the bonds
to 'D'.

The POA proposes various impairments to DWSD bondholders either if a transaction transferring operation of DWSD's assets to a regional
utility authority (the GLWA) is effected or DWSD remains a department of the city. The POA scenario that transfers water/sewer operations
to GLWA would impair the call protection of existing non-callable bonds (class 1B and 1D claims in the case of water and sewer
bondholders, respectively) whether existing bondholders were issued exchange bonds or the bonds were cash defeased subsequent to
confirmation of the POA. For bondholders receiving exchange bonds, the security interest would also be impaired, as bondholders' current
security pledge would be subordinated to a new transfer payment from GLWA to the city, with no cap of the transfer payment specified in the
POA.

Bondholders voting against the POA would be impaired as a result of receiving different interest coupons than currently held, with such
coupons virtually guaranteed to be lower than the existing coupons; bondholders voting for the POA may elect to receive exchange bonds
with coupons that are the same as the existing bonds' coupons.

Impairments to bondholders under the POA scenario where DWSD remains a department of the city are essentially identical as under the
GLWA transfer. The only exception is that existing DWSD bonds could be reinstated prior to the effective date of the POA as opposed to
being cash defeased.

WEAK FINANCIALS AND UNCERTAINTY DRIVE DOWNGRADE

The system's fiscal 2013 audited results are unavailable. The delay is due to unresolved issues relating to the city's bankruptcy filing and the
application of appropriate financial accounting and related disclosures in this scenario. Recently issued DWSD unaudited results for fiscal
2013 show all-in sewer bond debt service coverage (DSC, including senior, subordinate and junior lien state revolving fund debt) at 0.95x as
calculated by Fitch, well below its original projection of 1.22x. DSC for the water bonds was slightly higher at 1.14x but also below prior
expectations of 1.29x.

The decrease in DSC is primarily due to a decline in retail and wholesale revenues. The sewer system met its sum-sufficient rate covenant
for fiscal 2013 largely due to the bond documents' exclusion from net revenues non-cash annual OPEB accrued expenses (totaling $13.6
million). This approach differs from Fitch's calculation of DSC which incorporates financial accruals. Bond ordinance debt service coverage
based on the unaudited results for sewer was 1.02x and for water was 1.24x.

Significant delinquencies by city retail customers likely also account for some of the revenue decline. While the system has experienced
above-average delinquencies for several years, new delinquent account information provided by DWSD reveals the severity of the problem.
Approximately 65% of the city's residential water and sewer customers are at least 60 days delinquent as of Jan. 3, 2014. Fitch believes the
recent disclosure in conjunction with challenges to remedy this issue in the already pressured operating environment supports a below
investment-grade credit profile. Management reports addressing the delinquency problem is a top priority and has begun implementation of
more timely shut-offs.

Fitch believes the system's liquidity metrics likely remain below average although unrestricted cash balances for fiscal 2013 have not been
fully reported. As of the most recent financial audit (fiscal 2012), days cash on hand was a relatively low 131 days for sewer and 183 days for
water.

DWSD estimates that fiscal 2014 revenues to date are running below budgeted levels, again, due to lower system billings. The systems'
operating expenses are estimated to be under budget as a result of attrition and other non-personnel cuts. DSC for fiscal 2014 is projected to
total 1.3x for sewer and 1.35x for water. However, Fitch believes DWSD may have difficulty achieving the level of revenue growth forecasted
assuming base year revenues from 2013 unaudited results. Consequently, Fitch expects fiscal 2014 DSC to be lower than DWSD's
projections, 13-53846-tjt
              possibly significantly.
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Sewer system revenues are likely to perform closer to projections starting in fiscal 2015 because of a recently adopted process to simplify
rate setting for all suburban sewer customers. Under the new process, suburban customers will have one fixed-rate to pay on a monthly
basis, eliminating fluctuations that are typical with volumetric charges. Currently, volumetric charges account for approximately 65% of the
suburban sewer bill.

LOSS OF LARGEST WATER CUSTOMER INTERMEDIATE TERM PRESSURE

DWSD is poised to lose its largest wholesale customer when the 35-year contract to sell water to Flint, MI expires on April 16, 2014. Flint
accounted for $22 million (or 6%) of the system's total billed revenue for fiscal 2013. Flint's departure from the system is expected to happen
sometime over the next three to five years, adding pressure to DWSD's already narrow finances.

The rating assumes relative stability in the wholesale customer base. Management maintains that there are few viable options other than
DWSD for most wholesale customers to purchase treated water. The system's ability to absorb the revenue impact from losing its largest
customer and maintain all-in sum-sufficient DSC is key to stability in underlying credit quality.

SYSTEM LEVERAGE REMAINS HIGH

Fitch expects leverage for both systems to remain high for the foreseeable future. DWSD's sewer debt profile is relatively weak with long-
term debt per customer totaling a high $3,830 for sewer and $2,079 for water. Principal payout is slow with only 28% of sewer debt maturing
in 10 years; 26% for water.

The systems' 2015-2019 capital improvement plans (CIP) total approximately $505 million each for water and sewer. Near-term debt
issuances totaling $128 million for sewer is expected in fiscal 2015 with $155 million for water in fiscal 2016.

The water CIP is largely unchanged from the previous plan and the sewer CIP reflects a 31% decrease in planned spending. Capital cost
containment reflects management efforts to preserve cash by deferring certain projects for approximately 18 months. Management has also
planned the deferral of certain capital projects while it completes and implements a strategic facilities plan (SFP) during fiscal 2014. The SFP
will prioritize future capital investments.

BROAD SERVICE AREA ENHANCES SYSTEM STABILITY

The water system is a regional provider serving around 4.2 million people or nearly 43% of Michigan's population, including the city's
population of over 700,000. The system serves the city on a retail basis and 124 communities through 84 wholesale contracts. The service
territory consists of an area of 138 square miles in Detroit and 981 square miles in eight counties.

The sewer system is a regional provider serving around 2.8 million people or nearly 30% of Michigan's population, including the city. The
system serves the city on a retail basis and 76 communities through 22 wholesale contracts. The service territory consists of an area of 138
square miles in Detroit and 850 square miles in three counties.

Population and customer growth for both systems have experienced modest annual declines for a number of years. Detroit's population in
particular has experienced continuous decline, but suburban areas have picked up most of the migration.

CONSISTENT SYSTEM RATE INCREASES

The board has consistently raised rates to meet financial and capital needs. However, unfavorable operating conditions (including very high
delinquencies) and rising fixed costs have muted the positive revenue impact. For fiscal 2013, the board raised charges 9.9% and 6.7% for
city retail and suburban wholesale customers, respectively. For fiscal 2014, DWSD implemented 4% increases on July 1 and another 4%
increase has been proposed for fiscal 2015. Annual increases of 4% are preliminarily forecast for fiscals 2016-2019.

Rate flexibility is hampered by weak income levels in the city. Retail rates for the sewer system well exceed Fitch's 1% of median household
income (MHI) affordability benchmark (1.8%) given the weak MHI within the city. The water system's retail rates remain around Fitch's MHI.

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 In addition to the sources of information identified in Fitch's Revenue-Supported Rating Criteria, this action was additionally informed by
 information from Creditscope.

 Applicable Criteria and Related Research:

 --'Revenue-Supported Rating Criteria' (June 2013);
 --'U.S. Water and Sewer Revenue Bond Rating Criteria' (July 2013);
 --'2014 Water and Sewer Medians' (Dec. 2013);
 --'2014 Outlook: Water and Sewer' (Dec. 5, 2013).

 Applicable Criteria and Related Research:
 2014 Outlook: Water and Sewer Sector
 2014 Water and Sewer Medians
 U.S. Water and Sewer Revenue Bond Rating Criteria
 Revenue-Supported Rating Criteria

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